                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                TERRE HAUTE DIVISION

PATRICK R. SMITH,                                  )
BRANDON S. HOLM,                                   )
                                                   )
                            Plaintiffs,            )
                                                   )
                       v.                          )       No. 2:20-cv-00630-JMS-DLP
                                                   )
WILLIAM P. BARR,                                   )
MICHAEL CARVAJAL,                                  )
T.J. WATSON,                                       )
                                                   )
                            Defendants.            )

                            Order Granting Preliminary Injunction

       The Court concluded in an order issued on this date that plaintiffs Patrick R. Smith and

Brandon S. Holm have demonstrated that they are entitled to a preliminary injunction. The

defendants are enjoined from carrying out any future executions in the next 60 days without

implementing the following policies:

       1.     The defendants will enforce mask requirements for all staff participants in the

              executions.

       2.     The defendants will maintain contact logs for all FCC Terre Haute staff members

              involved in any execution who have close contact—within 6 feet for a total of 15

              minutes over the course of a 24-hour period—with any other person during

              execution preparation, during an execution, or during the post-execution process.

       3.     For 14 days following any such close contact, the defendants will require the

              impacted FCC Terre Haute staff member to produce a negative COVID-19 result

              using one of the complex's rapid testing machines each day before beginning

              ordinary duties that involve interaction with FCC inmates.
       4.       The defendants will ensure that thorough contract tracing is conducted for any such

                FCC staff member who tests positive for COVID-19 during this 14-day period.

       IT IS SO ORDERED.
      January 7, 2021                                    ^ Judge stamp upper left



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